46 F.3d 1125
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael MCNATT, Plaintiff-Appellant,v.Frank COLEMAN;  Brunswick Correctional Center;  ColumbusCorrectional Center, Defendants-Appellees.
    No. 94-7034.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 13, 1994.Decided:  Jan. 18, 1995.
    
      Michael McNatt, Appellant Pro Se.
      Before WIDENER and NIEMEYER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) action.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  McNatt v. Coleman, No. CA-93-506 (E.D. Va.  Aug. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We also deny, as moot, Appellant's motion for appointment of counsel
      
    
    